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                       Exhibit A

              Revised Proposed Final Order
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                       Chapter 11

BOY SCOUTS OF AMERICA AND                                    Case No. 20-10343 (LSS)
DELAWARE BSA, LLC, 1
                                                             (Jointly Administered)
                         Debtors.
                                                             Ref. Docket Nos. 8, 69 and ___


              FINAL ORDER (I) AUTHORIZING DEBTORS TO
        (A) MAINTAIN AND ADMINISTER PREPETITION CUSTOMER,
 SCOUT, AND DONOR PROGRAMS AND PRACTICES AND (B) PAY AND HONOR
RELATED PREPETITION OBLIGATIONS, AND (II) GRANTING RELATED RELIEF

         Upon the motion (the “Motion”), as supplemented (the “Supplement”), 2 of the Boy

Scouts of America and Delaware BSA, LLC, the non-profit corporations that are debtors and

debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”), for

entry of a final order (this “Final Order”), pursuant to sections 105(a) and 363(b) of the

Bankruptcy Code and Bankruptcy Rules 6003 and 6004, (i) authorizing the Debtors to (a)

maintain and administer prepetition customer, Scout, and donor programs and practices,

including the Pooled Income Fund Program and (b) pay and honor related prepetition

obligations, and (ii) granting related relief; and upon consideration of the First Day Declaration;

and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and this matter being a core proceeding within the meaning

of 28 U.S.C. § 157(b)(2); and this Court being able to issue a final order consistent with Article

1
    The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
    identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
    Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
    All capitalized terms used but not otherwise defined herein shall have the meaning given to them in the Motion
    or the Supplement, as applicable.
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III of the United States Constitution; and venue of this proceeding and the Motion and

Supplement being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and appropriate notice of and

the opportunity for a hearing on the Motion and Supplement having been given and it appearing

that no other or further notice need be provided; and this Court having reviewed the Motion and

Supplement and having heard the statements in support of the relief requested therein at a

hearing before this Court; and all objections, if any, to the Motion and Supplement having been

withdrawn, resolved or overruled; and the relief requested in the Motion and Supplement being

in the best interests of the Debtors’ estates, their creditors and other parties in interest; and this

Court having determined that the legal and factual bases set forth in the Motion and Supplement

establish just cause for the relief granted herein; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

        1.      The relief requested in the Motion and Supplement is GRANTED on a final basis

as set forth herein.

        2.      The Debtors are authorized, but not directed, to maintain and administer the

Public Programs 3 and pay or otherwise honor any Public Program Obligations and any third-

party administrators’ fees incurred in connection with the Public Programs, whether arising

before, on or after the Petition Date, in the ordinary course and consistent with past practice, as

necessary and appropriate in the Debtors’ business judgment.

        3.      If the Debtors at any time during these chapter 11 cases cease to honor Gift Cards,

the Debtors shall file a notice of the same with the Court, and serve such notice on the Office of

the U.S. Trustee, any statutory committee appointed in these chapter 11 cases, and any party that

has requested notice pursuant to Bankruptcy Rule 2002.


3
    For purposes of this Final Order, the term “Public Programs” collectively refers to the Public Programs, as
    defined in the Motion, and the Pooled Income Fund Program, as defined in the Supplement.


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       4.      The Debtors are authorized, but not directed, to continue to operate under the

Payment Processing Agreements. The Debtors are authorized to pay or reimburse the Payment

Processors for the Processing Obligations, whether such obligations arose prepetition or post-

petition, and the Payment Processors are authorized to receive or obtain payment for such

Processing Obligations, as provided under, and in the manner set forth in, the Payment

Processing Agreements, including, without limitation, by way of recoupment or setoff without

further order of the Court. Any post-petition claim that a Payment Processor may have under the

Payment Processing Agreements shall be entitled to, in addition to any other lien, collateral, or

payment priority rights in support thereof, administrative expense priority status pursuant to

Section 503(b) of the Bankruptcy Code.

       5.      Each of the banks at which the Debtors maintain their accounts relating to

payment of the obligations related to the Public Programs are authorized to (i) receive, process,

honor, and pay all checks presented for payment and to honor all fund transfer requests made by

the Debtors related thereto, to the extent that sufficient funds are on deposit in those accounts

and (ii) accept and rely on all representations made by the Debtors with respect to which checks,

drafts, wires, or automated clearing house transfers should be honored or dishonored in

accordance with this or any other order of the Court, whether such checks, drafts, wires, or

transfers are dated before, on, or after the Petition Date, without any duty of further inquiry.

       6.      The Debtors are authorized, but not directed, to issue new post-petition checks, or

to effect new electronic funds transfers, on account of the Public Program Obligations, and to

replace any prepetition checks or electronic fund transfer requests that be have been lost or

dishonored or rejected as a result of the commencement of the Debtors’ chapter 11 cases.




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       7.      Nothing contained in the Motion, the Supplement, or this Final Order is intended

or should be construed to create an administrative priority claim on account of any of the Public

Programs.

       8.      Nothing in this Final Order (i) is intended or shall be deemed to constitute an

assumption of any agreement pursuant to section 365 of the Bankruptcy Code or an admission as

to the validity of any claim against the Debtors or their estates; (ii) shall impair, prejudice, waive,

or otherwise affect the rights of the Debtors or their estates to contest the validity, priority, or

amount of any claim against the Debtors or their estates; (iii) shall impair, prejudice, waive, or

otherwise affect the rights of the Debtors or their estates with respect to any and all claims or

causes of action against any third party; or (iv) shall be construed as a promise to pay a claim or

continue any applicable program post-petition, which decision shall be in the discretion of the

Debtors. Any payment made pursuant to this Final Order is not intended to be nor should it be

construed as an admission as to the validity of any claim or a waiver of the Debtors’ rights to

subsequently dispute such claim.

       9.      Notice of the Motion and the Supplement shall be deemed good and sufficient

notice of such Motion and Supplement, and the requirements of Bankruptcy Rule 6004(a) and

the Local Rules are waived by such notice.

       10.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Final

Order are immediately effective and enforceable upon its entry.

       11.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Final Order in accordance with the Motion and Supplement.




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       12.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation and enforcement of this Final Order.



Dated: ____________, 2020
Wilmington, Delaware                      THE HONORABLE LAURIE SELBER SILVERSTEIN
                                          UNITED STATES BANKRUPTCY JUDGE




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